






IN THE COURT OF APPEALS, THIRD DISTRICT OF TEXAS,



AT AUSTIN



                       




NO. 3-91-480-CR




JUAN GERARDO MORENO,


	APPELLANT

vs.




THE STATE OF TEXAS,


	APPELLEE


                       



FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 368TH JUDICIAL

DISTRICT


NO. 91-034-K368, HONORABLE BURT CARNES, JUDGE PRESIDING


                       




PER CURIAM

	Juan Gerardo Moreno seeks to appeal from a judgment of conviction for aggravated
possession of marihuana.  The punishment is imprisonment for fifty years and a $5000 fine.

	The State has filed a motion to dismiss.  It its motion, the State correctly points out
that appellant did not timely file his notice of appeal.  Sentence was imposed in open court on
September 3, 1991.  No motion for new trial was filed.  Notice of appeal was not filed until
October 18, 1991.  See Tex. R. App. P. Ann. 41(b)(1) (Pamph. 1992).

	Without a timely filed notice of appeal, this Court is without jurisdiction.  Shute
v. State, 744 S.W.2d 96 (Tex. Crim. App. 1988).  The motion to dismiss is granted.

	The appeal is dismissed.


[Before Chief Justice Carroll, Justices Aboussie and B. A. Smith]

Dismissed for Want of Jurisdiction on State's Motion

Filed:  March 4, 1992

[Do Not Publish]


